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     Attorneys for Defendant,
11   CHARTER COMMUNICATIONS, INC.
12
13                             UNITED STATES DISTRICT COURT
14               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15   NATIONAL ASSOCIATION OF                     CASE NO. 2:16-cv-00609-GW-FFM
     AFRICAN AMERICAN-OWNED
16   MEDIA, a California limited liability       JOINT STATUS REPORT
     company; and ENTERTAINMENT
17   STUDIOS NETWORKS, INC., a                   Judge:        Hon. George H. Wu
     California corporation,                     Hearing Date: October 10, 2019
18                                               Time:         8:30 A.M.
                     Plaintiffs,                 Courtroom: 350 West 1st Street
19                                                             Courtroom 9D
                v.                                             Los Angeles, CA 90012
20
     CHARTER COMMUNICATIONS,
21   INC., a Delaware corporation; and
     DOES 1 through 10, inclusive,
22
                     Defendants.
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24              In advance of the Status Conference set for October 10, 2019, and in
25   accordance with the Court’s June 7, 2019 Order, the Parties submit this Joint Status
26   Report at the Court’s request to provide an update since the last report provided to the
27   Court on June 4, 2019 (ECF Dkt. No. 133):
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                                     JOINT STATUS REPORT
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 1              This action remains partially stayed pursuant to the Court’s February 28, 2019
 2   Order, which lifted the stay in part to permit the parties to serve discovery requests
 3   and serve objections thereto. (ECF Dkt. No. 129.) The parties have served their first
 4   sets of written discovery, and the parties have served written responses thereto with
 5   legal objections.
 6              At present, Defendant Charter Communications, Inc.’s petition for certiorari
 7   (filed on March 8, 2019) remains pending before the United States Supreme Court.
 8   However, on June 10, 2019, the Supreme Court granted certiorari in Comcast Corp. v.
 9   National Association of African American-Owned Media, No. 18-1171, which
10   involves the same Plaintiffs as this case, was argued at the same time as this case
11   before the Ninth Circuit, and involves the same question presented as in Charter’s
12   petition: does a claim of race discrimination under 42 U.S.C. § 1981 fail in the
13   absence of but-for causation?        The Comcast case is scheduled for argument on
14   November 13, 2019, and the parties anticipate the Supreme Court will hold Charter’s
15   petition in abeyance pending the disposition of the Comcast case.
16              Charter’s position is that, because the Supreme Court’s resolution of the
17   Comcast case may materially affect future litigation of this case, Charter believes that
18   the current stay should be continued pending the Supreme Court’s disposition of the
19   Comcast case and action on Charter’s petition.          Plaintiff’s position is that it is
20   premature to determine what impact, if any, the Supreme Court’s resolution of the
21   Comcast case will have in this case. But, in any event, Plaintiffs do not, at this time,
22   seek to lift the stay beyond what the Court ordered on February 28.
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                                         JOINT STATUS REPORT
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 1   DATED: October 7, 2019              Respectfully submitted,
 2
     /s/ David W. Schecter               /s/ Judson D. Brown
 3   MILLER BARONDESS LLP                KIRKLAND & ELLIS LLP
 4   David W. Schecter                   Judson D. Brown

 5   Attorney for Plaintiffs             Attorney for Defendant Charter
 6                                       Communications, Inc.

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 1                   ATTESTATION PURSUANT TO CIVIL L.R. 5-4.3.4(a)(2)
 2              The filer attests that all other signatories listed, and on whose behalf the filing is
 3   submitted, concur in the filing’s content and have authorized the filing.
 4
     DATED: October 7, 2019                       /s/ Judson D. Brown
 5
                                                  KIRKLAND & ELLIS LLP
 6                                                Judson D. Brown
 7
                                                  Attorney for Defendant Charter
 8                                                Communications, Inc.
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